Case 2:08-cr-00327-SRC           Document 302        Filed 07/30/09       Page 1 of 3 PageID: 1312




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




   United States of America                              Criminal Action
                                                        2; 08-cr-327 4nDi)     g C.
             Plaintiff

   V.
                                                        ORDER RE
   Andrew Merola                                        BAIL CONDITIONS


             Defendant.




             The    Court   having      considered    the     respective       positions        of

   counsel         and   the   United     States     Attorney’s          Office        having   no

   objection        to   the   relief    requested    herein       and   Pretrial        Services

   havina approved this request and for good cause shown

             It is on this       day of July 2009

             ORDERED AND ADJUDGED as fo1lows

        1.    Mr.    Merola may accompany his           son   to    a wrestling          camp   in

   Carlisle         Pennsylvania     from    August     2     to    August        8,    2009    in

  accordance with a schedule               set by Pretrial          Services      and    subject

  to GPS monitoring.

        2.    A copy of this Order shall be served on Pretrial
Page 2 of 3 PageID: 1313




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Case 2:08-cr-00327-SRC   Document 302   Filed 07/30/09   Page 3 of 3 PageID: 1314




   Services and the inited States Attorney’s office.




                                 Honorable Stanley R. Chesler
                                 United States District Court
                                 Judge

   We hereby consent to the entry of this Order.



   Salvatore 1’. Alfano
   Attorney for Andrew Merola



   Ronald Wigler
   Assistant United
   States Attorney



   Kenneth Rowan
   United States
   Pretrial Services




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